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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                          STATESBORO DIVISION
ELIJAH NAHUM SIMMONS,

      Movant,
v.                                                   Case No. CV613-112
                                                               CR610-001
UNITED STATES OF AMERICA,

      Respondent.

                                    ORDER
      Let a copy of this Report and Recommendation be served upon movant and

counsel for respondent. Any objections to this Report and Recommendation must be

filed with the Clerk of Court not later than April 22, 2015. The Clerk shall submit

this Report and Recommendation together with any objections to the Honorable B.

Avant Edenfield, United States District Judge, on April 23, 2015. Failure to file an

objection within the specified time means that this Report and Recommendation may

become the opinion and order of the Court, Nettles v. Wainwright, 677 F.2d 404 (5th

Cir. 1982), and further waives the right to appeal the District Court's Order. Thomas

v. Arn, 474 U.S. 140 (1985).

      All requests for additional time to file objections to this Report and

Recommendation should be filed with the Clerk for consideration by the District Judge

to whom this case is assigned.

      SO ORDERED this 7th day of April, 2015.
                                        /s G.R. SMITH
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
